 

Case 9:12-cv-00152-DLC Document 31 Filed 02/12/13 Page 1 of 2

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Clerk, U.S District Cou
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA
MISSOULA DIVISION

RICHARD SHERMAN and
DEBRA SHERMAN,

CV 12-152-M-DLC-JCL

Plaintiffs,

Vs. ORDER

INSURANCE COMPANY,
ALLIED PROPERTY AND
CASUALTY INSURANCE
COMPANY, and DOES I & II,

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Defendants. )
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Plaintiffs Richard and Debra Sherman filed a motion to remand (doo. 8)
Whioh is pending in this matter. United States Magistrate Judge Jeremiah C.
Lynoh entered Findings and Reoommendation on January 15, 2013,
recommending granting the motion and remanding the case to State court. The

parties did not timely object to the Findings and Recommendation, and so have

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waived the right to de novo review of the record. 28 U.S.C. § 63 6(b)(l). This
Court will review the Findings and Recommendation for clear error. McDonnell
Douglas Co;p. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313 (9th Cir.
1981). Clear error exists if the Court is left with a “defmite and firm conviction
that a mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427
(9th Cir. 2000).

Judge Lynch required Plaintiffs to file an affidavit stating they will not
claim more than $75,000 in damages if this action is returned to the Eleventh
Judicial District of Montana. (Doc. 28.) Based on this affldavit, Judge Lynch
found the amount in controversy does not exceed the requisite amount of $75,000
and recommended remand. There being no clear error in Judge Lynch’s Findings
and Recommendation,

IT IS HEREBY ORDERED that Judge Lynch’S Findings and
Recommendation (doc. 30) are adopted in full. Plaintiffs’ motion to remand (doc.
8) is GRANTED and this case shall be remanded to the Montana Eleventh Judicial
District Court, Flathead County.

Dated this |LMday of February, 2013.

am

Dana L. Christensen, District Judge
United States District Court

 

 

 

